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             EXHIBIT 4
          Excerpts from
October 2019, Severance Agreement
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                                    Meyer Foundation

VIA ELECTRONIC DELIVERY


October 15, 2019


Ms. Terri D. Wright
204 Beacon Place NE
Washington DC 2001 1


Dear Terri,


As you know, you separated from employment with The Eugene and Agnes E. Meyer Foundation
(the "Foundation") on October 1, 2019. In connection with your separation, the Foundation provided
you with a severance agreement on October 1, 2019 (the "initial severance agreement") that set forth
the severance benefits you were eligible to receive. You have since requested changes to the initial
severance agreement and the Foundation has agreed to revise certain of the severance benefits it
initially offered you as set forth herein (the "revised letter agreement").


Accordingly, you are eligible to receive the severance benefits described in paragraph 2 below if you
timely sign and return this revised letter agreement to me at The Eugene and Agnes E. Meyer
Foundation, 1250 Connecticut Avenue, NW, Suite 800, Washington, DC, 20036 no later than
October 23, 2019. By timely signing and returning this revised letter agreement, you will be entering
into a binding agreement with the Foundation and will be agreeing to the terms and conditions set
forth in the numbered paragraphs below, including the release of claims set forth in paragraph 3.
Therefore, you are advised to consult with an attorney of your own choosing before signing this
revised letter agreement and you have been given at least seven days to do so.


If you choose not to sign and return this revised letter agreement by October 23, 2019, you shall not
receive any severance benefits from the Foundation. However, you have already received payment
for all salary and unused vacation accrued through the Separation Date (as defined below), less all
applicable taxes and withholdings. To the extent that you have not submitted for reimbursement
business-related expenses that you may have incurred through the Separation Date, such
reimbursement request must be submitted no later than October 23, 2019. The Foundation will
reimburse you for such reasonable expenses pursuant to its expense reimbursement policy.


The following numbered paragraphs set forth the terms and conditions that will apply if you timely
sign and return this revised letter agreement and comply with its terms.
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6.   Mutual Non-Disparagement. You agree that you have not made, and will not make, any
     false, disparaging or derogatory statements to any person or entity, including any media
     outlet, industry group or financial institution, regarding the Foundation or any of the other
     Releasees, or about the Foundation's business affairs and/or financial condition; provided,
     however, that nothing herein prevents you from making truthful disclosures to any
     governmental entity or in any litigation or arbitration. Likewise, the Foundation will direct
     those officers, directors and employees with direct knowledge of this revised letter agreement
     not to make any false, disparaging or derogatory statements to any person or entity regarding
     you; provided, however, that nothing herein prevents such individuals from making truthful
     disclosures to any governmental entity or in any litigation or arbitration.
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13.   Voluntary Assent. You affirm that no other promises or agreements of any kind have been
      made to or with you by any person or entity whatsoever to cause you to sign this revised
      letter agreement, and that you fully understand the meaning and intent of this revised letter
      agreement. You state and represent that you have had an opportunity to discuss fully and
      review the terms of this revised letter agreement with an attorney. You further state and
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      represent that you have carefully read this revised letter agreement, understand the contents
      herein, freely and voluntarily assent to all of the terms and conditions hereof, and sign your
      name of your own free act.




18.   Entire Agreement. This revised letter agreement contains and constitutes the complete
      agreement between the parties hereto with respect to your separation from employment and
      the settlement of claims against the Foundation and cancels all previous oral and written
      negotiations, agreements and commitments in connection therewith, including, but not
      limited to, the initial severance agreement. Nothing in this paragraph 18, however, shall
      modify, cancel or supersede your continuing obligations as set forth in paragraph 5 herein.
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I hereby agree to the terms and conditions set forth above. I have been given at least seven days to
consider this revised letter agreement, and I have chosen to execute this on the date below.


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Terri D.Wright                <J
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                                                       Date




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